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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                        LAFAYETTE-OPELOUSAS DIVISION

 United States of America                                           Crim No. 05-60057-05
                                                               Consolidated w/ 06-60024-09

 versus                                                          Judge Tucker L. Melançon

 Bilbo, et al                                                           Magistrate Judge Hill
 defendant Levar Derry

                                          JUDGMENT

          The Court is in receipt of the Reporter’s Official Transcript of the Plea Hearing

 before United States Magistrate Judge C. Michael Hill. Defendant Levar Derry entered a

 plea of guilty before Judge Hill on November 9, 2006, and was ordered detained pending

 sentencing. The Court, having independently reviewed the official written transcript of

 the plea hearing, and noting that no objections have been filed by the parties, concludes

 that report and recommendation of the magistrate judge that the undersigned adopt

 defendant Derry’s guilty plea is correct, and the Court therefore adopts the conclusions

 set forth therein. Additionally, it is

          ORDERED that defendant Levar Derry will be sentenced in this matter on

 Tuesday, March 16, 2007 at 3:00 P.M.

          THUS DONE AND SIGNED this 8 th day of January, 2007, in Lafayette,

 Louisiana.
